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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------)(
Devorah Lunger, on behalf of herself
and all other similarly situated persons,
                                                            11-CV-7552 (DLC)

                       Plaintiffs,                          PLAINTIFF'S AFFIDAVIT
                                                            IN OPPOSITION TO
                                                            DEFENDANT'S MOTION
                                                            TO DISMISS
               v.

Union of Orthodox Jewish Congregations
Of America (Orthodox Union)/NCSY,

                       Defendant.
-------------------------------------------------------)(

       Devorah Lunger declares the following to be true under the penalty of

perJury:

1.             I am the Plaintiff and am submitting this declaration in opposition to

Defendant's Motion to Dismiss the Complaint. This declaration is based on my

personal knowledge.

2.             Defendant Orthodox Union provides many different kinds of services

through its different divisions. These services vary; some are religious, others are

geared towards youth, some involve social action or public policy, while others are

educational or involve community development. The overarching goal of much of

this programming is to engage Jews in Jewish culture and community.
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3.           I worked in Defendant's NCSY division since 2002, in a Chapter

Advisor/Chapter Director position. NCSY is the international youth movement of

the OU.

4.           In this position, my tasks included: planning and executing different

social or cultural events, educating teens about and engaging them in Jewish

culture, teaching classes, meeting with teens on an individual basis, preparing for

and hosting explanatory holiday meals, and chaperoning students on educational

and cultural trips (such as to Israel) or weekend retreats.

5.           Although I have a degree from a religious semmary for having

completed a course of religious study, I am not ordained or certified as a rabbi, and

the OU has not recognized me as a religious leader in my capacity as a Chapter

Advisor/Chapter Director. Some Chapter Advisors/Chapter Directors do not have

as much religious training/background as I do; others have more. It is not required

for the position.

      WHEREFORE, I request that Defendant's Motion to Dismiss be denied and

that this case proceed. Alternatively, if the court should be inclined to go further

with its consideration of Defendant's motion, then I request that discovery be

allowed on the subjects of whether the division in which I worked was the

equivalent of a religious institution and whether my functions and duties fit within

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the ministerial exemption.

Dated:       January 31, 2012




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